Case 6:11-bk-05683-ABB Doc1

ne

Bi (Official Form 1) (4/10)

Filed 04/19/11 Page 1 of 54

 

Unirep STATES BANKRUPTCY COURT
Middle District of Florida

VOLUNTARY PETITION

 

 

Name of Debtor (Gf individual, enter Last, First, Middle):
Byrd, Deborah, Ann

ve of Joint Debtor (Spouse) (Last, First, Middle).
nia

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include marred, maiden, and trade names):

 

nla n/a
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN Last four digits of Sac, Sec, or Individual-Taxpayer 1D. (ETIN)/Complete EIN
Go sor than one, state all}: Gf more than one, state all):

nia

 

Street Address of Debtor (No. and Street, City, and State):
3291 S. Sanford Avenue, No. 52

Street Address of Joint Debtor (No. and Street, City, and State):
nla

 

Sanford, FL

fir Cope 32773 | [iP CODE ]
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Seminole va

 

Mailing Address of Debtor (if different from street address):
Post Office Box 663

 

Mailing Address of Foint Debtor (if different from street address):
n/a

 

 

 

 

 

 

 

 

Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

Filing Fee waiver requested (applicable to chapter 7 individuals only}. Must
attach signed application for the court’s consideration. See Official Farm 3B.

 

Sanford, FL
_ [ZIP CODE 32772 ] fziP CODE ]

Loeation of Principal Assets of Business Debtor (if different fram street address above):
na ip CODE ]

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which

{Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
(G Health Care Business Chapter 7 (Chapter 15 Petition for
M1 Individual (includes Joint Debtors) [4 Single Asset Real Estate as defined in {| [J] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101(51B) £) Chapter 11 Main Proceeding
(C) Corporation (includes LLC and LLP) (3 sRailroad () = Chapter 12 (Chapter 15 Petition for
(1s Partnership (2 Stockbroker (J _s Chapter 13 Recognition of a Foreign
{] Other {If debtor is not one of the above entities, | [] Commodity Broker Nonmain Proceeding
check this box and state type of entity below.) (4 _— Clearing Bank
: Ci Other Nature of Debts
(Check one box.)
Tax-Exempt Entity
(Check box, if applicable.) Debts are primarily consumer [3 Debts are primarily
debts, defined in 11 U.S.C. business debts.
[3 Debtor is a @x-exempt organization § 101(8) as “incurred by an
under Title 26 of the United States individuai primarily fora
Code (the Internal Revenue Code}. personal, family, or house-
hold purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:

0 Full Filing Fee attached. (]_ Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

O

Cheek ift

(] Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
on 4/01/13 and every three years thereafter).

Check all applicable boxes:

LC] A plan is being filed with this petition.
Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

 

 

 

 

 

 

Statistical Administrative laformation THIS SPACE IS FOR
COURT USE ONLY
EC] Debtor estimates that funds will be available for distribution to unsecured creditors. 4 4 b
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for 3
distribution to unsecured creditors. CO

Estimated Number of Creditors in

o O Oo o oO oO Oo o Oo sy @ =

1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over 4 — orf

5,000 10,000 25,000 $0,000 106,000 100,00052 al = a
es

Estimated Assets 2] a %

O Oo o o o Sy ~~ ¢

$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $56,000,001 $100,00G,001  $500,000,001 More tham <1 wo =

$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1! billiogy “ oO
million million inillion million million mara: “wy ©

Estimated Liabilities pai * 3

Oo Q Oo DB oO q Oo oO hod Sw =

$0 to $50,001 to $100,001 t» $500,001 $1,000,001 $10,000,001 $50,000,001 $10,000,001 $500,000,001 More that? © o

$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $i billig? 4 ory =)
million million million million million a

 

 

 
Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page 2 of 54

 

 

 

 

BI (Official Form 1) (4/10) Page 2
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case.) Deborah Ann Byrd
All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet )
Location Case Number: Date Filed:
Where Filed: n/a

 

Location Case Number: Date Filed:
Where Filed: n/a

 

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, atiach additional sheet.)

 

 

 

 

Name of Debtor: ji Case Number: Date Filed:
Wa

District: : os : Relationship: Judge:

seteict Middle District of Florida — a

Exhibit A Exhibit B
(To be completed if debtor is an individual

{To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q) whose debts are primarily consumer debts.)
with the Securities and Exchange Commission pursuant to Section 13 or 15(d} of the
Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attomey for the petitioner named in the foregoing petition, declare that {

have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
or 13 of title 11, United States Code, and have explained the relief available under
each such chapter. I further certify that I have delivered to the debtor the notice
Tequired by 11 U.S.C. § 342(b).

C] ~~ Bxhibit A is attached and made a part of this petition. xX

 

 

Signature of Atiomey fer Debtor(s) (Date)

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
Os Yes, and Exhibit C is attached and made a part of this petition.

wi No.

 

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, each spovse must complete and attach 2 separate Exhibit D.)
Wl Exhibit 2 completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

{1 Exhibit D alse completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Veaue
(Check any applicable bax.)
ww Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
praceding the date of this petition or for a longer part of such 130 days than in any other District.

OJ —s There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
| Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has

n@ principal piace af business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court} in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by 2 Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

| Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the follewing.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

G Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise ta the judgment for possession, after the judgment for possession was entered, and

Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day periad after the filing
of the petition.

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1}).

 

 

 

 
~ -- Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 3 of 54

 

_B1 (Official Form) 1 (4/10)
Voluntary Petition

| (This page must be completed and filed in every case.)

Page 3
BabSrSR RA Byrd

 

Signatures

 

Signature(s)} of Debtor(s) (Individual/Foint)

and correct.

chapter, and choose to proceed under chapter 7.

have obtained and read the notice required by 11 U.S.C. § 342(b).

specified mm this petition.

 

I declare under penalty of perjury that the information provided in this petition is true
{If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] 1 am aware that I may proceed under chapter 7, 11, 12
or 13 of tide 11, United States Code, understand the relief available under each such

{If no attorney represents me and no bankruptcy petition preparer signs the petition] I

I request relief in accordance with the chapter of tide 11, Linited States Code,

   

 

Signature of Joint Debtor

 

Telephone Number (if not represented by attorney}
Dae OF O85 //

 

WO7- 235- Sh27

Signature of a Foreign Representative

I declare under penalty of perjury that the infarmation provided in this petition is
true and correct, that I am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only ome box.)

(2 [request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

(CO Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

(Signature of Foreign Representative)

 

(Printed Name of Foreign Representative}

 

Date

 

Signature of Attersey*

 

Signature of Attomey for Debtor(s)

 

Printed Name of Atiermey for Debtar(s)

 

Firm Name

 

 

 

Address

 

Telephone Number

 

Date
*In a case in which § 707(bK4){D) applies, this signature also constitutes a

in the schedules is incorrect.

certification that the attorney has no knowledge after an inquiry that the information

Signature of Noa-Atiorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) l am a bankruptcy petition preparer as
defined in 11 U.S.C. § 110; (2) 1 prepared this document for compensation and have
Provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
maximum fee for services chargeable by bankruptcy petition preparers, I have given
the debtor notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that section.
Official Form 19 is attached.

Janelle Woods

Printed Baer EP Og Bankrupicy Petition Preparer

Social-Security number (If the bankruptcy petition preparer is not an
individual, state the Social-Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer.) (Required
by LLUSC. § 110)

 

 

Code, specified in this petition.

x

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

 

 

 

 

237 Highland Orive
Signature of Debtor (Corporation/Partnership) Deltona, FL 32738
I declare under penalty of perjury that the information provided in this petition is true At 7 / j
and correct, and that I have been authorized to file this petition on behalf of the | x
“er ' Gisid
The debtor requests the relief in accordance with the chapter of title 11, United States Date t

Signature of bankruptcy petition preparer or officer, principal, responsible person,
or partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankrupicy petition preparer’s failure ta comply with the provisions of title II
and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
or both. 11 U.S.C. § 110; 18 USC. § 156.

 

 

 
 

Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page 4of 54

B iD (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY COURT

Middle District of Florida

in re Deborah Ann Byrd Case No.
Debtor (ifknown)

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

1. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

C1 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. Fou must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page5of 54

Page 2
B 1D (Gfficial Form 1, Exh. D) (12/09) -— Cont. 2

(13. I certify that ] requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

[ 4. ] am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities.);

© Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

© Active military duty in a military combat zone.

(15. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above is true and

correct.
\Nienature of Debtor: eal one Lined

Date: OfOS//
 

Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page 6 of 54

B6 Summary (Official Form 6 - Summary) (12/07)

United States Bankruptcy Court

 

Middle District of Florida
Inre Deborah Ann Byrd 4 Case No.
Debtor
Chapter ?
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, 1,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ATTACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILITIES OTHER
A - Real Property Yes 1 |5 72,505.00
B - Personal Property Yes 3 |* 4,235.00
C - Property Claimed Yes 1
as Exempt
D - Creditors Holding $
5 i Claims Yes 2 190,225.00
E - Creditors Holding Unsecured Yes 2 § 0.00
Priority Claims
(Total of Claims on Schedule E)
F - Creditors Holding Unsecured Yes 7 $ 20,808.00
Nonpriority Claims
G - Executory Contracts and Yes 1
Unexpired Leases
H - Codebtors Yes 1
1- Current Income of Yes 1 $ 2,746.62
Individual Debtor(s)
J- Current Expenditures of Individual Yes 1 $ 2,023.66
Debtors(s)
ae
TOTAL 20 |* 76,740.00 }* 211,033.00

 

 

 

 

 

 
Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page 7 of 54

B 6 Summary (Official Form 6 - Summary) (12/07)

United States Bankruptcy Court

Middle District of Florida
Inre_ Deborah Ann Byrd : Case No.
Debtor
Chapter 7

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report al! information requested below.

0 Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159,

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

Type of Liability Amount
Domestic Support Obligations (fram Schedule E) 5

Taxes and Certain Other Debts Owed to Goverumenta! Units $

(from Schedule E)

Claims for Death or Personal Injury While Debtor Was $

Intoxicated (from Schedule E) (whether disputed or undisputed)

 

Student Loan Obligations (from Schedule F) $

 

Domestic Support, Separation Agreement, and Divorce Decree $
Obligations Not Reported on Schedule E

 

Obligations to Pension or Profit-Sharing, and Other Similar $
Obligations (from Schedule F)

 

TOTAL | $ 0.00

 

State the following:
Average Income (from Schedule I, Line 16) $ 2,746.62

 

 

Average Expenses (from Schedule J, Line 18} $ 2,023.66

 

Current Monthly Income (from Form 22A Line 12; OR, Form § 3,996.94
22B Line 11; OR, Form 22C Line 20 }

 

 

State the following:

1. Total from Schedule D, “UNSECURED PORTION, IF $ 0.00
ANY” column

 

 

2. Total from Schedule E, “AMOUNT ENTITLED TO § 0.00
PRIORITY” column.

 

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO $ 0.00
PRIORITY, IF ANY” column

 

4, Total from Schedule F $ 20,808.00

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4} $ 20,808.00

 

 

 

 

 

 
Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page 8 of 54

B6A (Official Form 6A) (12/07)

Tn re Deborah Ann Byrd ; Case No,
Debtor (if known)

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“WwW,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule, List them in Schedule G - Executory Contracts and
Unexpired Leases,

Ifan entity claims to havea lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. Ife entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

if the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

 

 

 

 

 

 

 

&
DESCRIPTION AND = E CURRENT VALLE AMOUNT OF
LOCATION OF NATURE OF DEBTOR’S w= OF DEBTOR'S SECURED
PROPERTY INTEREST INPROPERTY | = = INTEREST IN CLAIM
gi | PROPERTY, WITHOUT
4 DEDUCTING ANY
& SECURED CLAIM
= OR EXEMPTION
850 Charles Avenue
. 72,505.00 179,900.00
Orange City, FL 32763
Total 72,505.00

 

 

 

(Report also on Summary of Schedules.)
Case 6:11-bk-05683-ABB Doci1 Filed 04/19/11 Page 9 of 54

B 6B (Official Form 6B) (12/07)

Inre Deborah Ann Byrd
Debtor

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. Ifthe debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. Ifthe debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an

(If known)

individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

De not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B. a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

TYPE OF PROPERTY

m2zoz

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT,

OR COMMUNITY

CURRENT VALUE OF
DEBTOR'S INTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

1, Cash on hand.

2. Checking, savings or other finan-
cial accounts, certificates of deposit
ar shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, of cooperatives.

3. Security deposits with public util-
ities, telephone companies, land-
lords, and others.

4, Household goods and furnishings,
including audio, video, and computer
equipment.

3. Books; pictures and other art
objects; antiques; stamp, coin,
record, tape, compact disc, and ather
collections or collectibles.

6. Wearing apparel.
7. Furs and jewelry.

8. Firearms and sports, phote-
graphic, and other hobby equipment.

9. Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name
each issuer.

11. Interests in an education IRA as
defined in 26 U.S.C. § $30(b)(1) or under
a qualified State tuition plan as defined in
26 U.S.C. § 529(b\L}. Give particulars.
(File separately the record(s) of any such
interest(s). 11 U.S.C. § 521(c}.)

 

 

 

Cash

Bank Account

FPL; Sanford Court Apartments

Annuity

 

 

150.00

500.00

375.00

80.00

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 10 of 54

B 6B (Official Form 6B) (12/07) -- Cont.

In re Deborah Ann Byrd ; Case No.
Debtor (if known)

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

 

5 CURRENT VALUE OF
DEBTOR’S INTEREST
N EE IN PROPERTY, WITH-
TYPE OF PROPERTY a DESCRIPTION AND LOCATION *2 OUT DEDUCTING ANY
N OF PROPERTY a SECURED CLAIM
E z OR EXEMPTION
=
12. Interests in ERA, ERISA, Keogh, or
other pension or profit sharing plans. x
Give particulars.
13. Stock and interests in incorporated
and unincorporated businesses. 630.00
Ttemize.
14. Interests in partnerships or joint
ventures. Itemize. x

15. Government and corporate bonds
and other negotiable and non- x
negotiable instruments.

16, Accounts receivable, X

17. Alimony, maintenance, support,
and property settlements to which the
debtor is or may be entitled. Give x

particulars.

18. Other liquidated debts owed to
debtor including tax refunds. Give xX
particulars.

19. Equitable or future interests, life
estates, and nights or powers exercisable
for the benefit of the debtor other than
those listed in Schedule A— Real x
Property.

20. Contingent and noncontingent
interests in estate of a decedent, death
benefit plan, hfe insurance policy, or trust.

21. Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor, and
rights to setoff claims. Give estimated X
value of each.

 

 

 

 

 

 

 

 
 

 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 11 of 54

B 6B (Official Form 6B) (12/07) — Cont.

 

 

 

 

 

 

 

 

inre Deborah Ann Byrd ; Case No.
Debtor (if known)
(Continuatien Sheet}
e CURRENT VALUE OF
& DEBTOR’S INTEREST
N EG IN PROPERTY, WITH-
TYPE OF PROPERTY Oo DESCRIPTION AND LOCATION 3 OUT DEDUCTING ANY
N OF PROPERTY 5 SECURED CLAIM
E = OR EXEMPTION
22. Patents, copyrights, and other
intellectual property. Give particulars. x
23. Licenses, franchises, and other general
intangibles. Give particulars. x
24, Customer lists or other compilations
containing personally identifiable
information (as defined im 11 U.S.C.
§ 101(41.A)) provided to the debtor by
individuals in connection with obtaininga | *
product or service from the debtor
primarily for personal, family, or
household purposes.
25, Automobiles, trucks, trailers,
and other vehicles and accessories. 2005 Chevy Cobalt 2,500.00
26, Boats, motors, and accessories.
27, Aircraft and accessories. x
28. Office equipment, furnishings,
and supplies. X
29. Machinery, fixtures, equipment,
and supplies used in business. x
30. Inventory. x
31, Animals. x
32, Crops - growing or harvested.
Give particulars. x
33. Farming, equipment and implements. x
34. Farm supplies, chemicals, and feed. x
35. Other personal property of any kind
not already listed. Jiemize. x
continuation sheets attached Total § 4,235.00

 

 

(include amounts from any continuation

sheets attached. Report total also on

Summary of Schedules.)

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 12 of 54

B6C (Official Form 6C) (04/10)

Inre Deborah Ann Byrd
Debtor

Case No.

Cf kriown)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:

OU Check if debtor claims a homestead exemption that exceeds

 

 

(Check one box) $146,450.*
w@ NUS. § 522(b)(2)
O 11U,S.C. § 522(6)3)
CURRENT
SPECIFY LAW VALUE OF VALUE OF PROPERTY
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION

Cash 11 U.S.C. 522 450.00 150.00
Bank Account 11 U.S.C. 522 500.00 500.00
Stocks 11 U.S.C. 522 630.00 630.00
Automobile 11 U.S.C. 522 2,500.00 2,500.00

 

 

 

 

 

* Amount subject to adjusiment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 13 of 54

 

B 6D (Official Form 6D} (12/07)

In re Deborah Ann Byrd , Case No.
Debtor (if known)

 

 

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity an the appropriate schedule of creditors, and complete Schedule H — Codebtors. Ifa joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

O Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S NAME AND i - DATE CLAIM WAS FE e AMOUNT OF CLAIM UNSECURED
MAILING ADDRESS = me INCURRED, a ee) WITHOUT PORTION, IF
INCLUDING ZIP CODE AND | &| %.° 2 | NATURE OFLIEN, | 3 4 = | DEDUCTING VALUE ANY
AN ACCOUNT NUMBER BI Ses AND 2/5 | 2] OF COLLATERAL
(See Instructions Above.) el 4 5 gi DESCRIPTION | F | 2 | 2
co} 258 AND VALUE OF Ole ise
E PROPERTY Ps
SUBJECT TO LIEN
ACCOUNT NO.7323 6/1/06
BAC Home Loans Svc Mortgage
450 American Street Home 139,792.00
Simi Valley, CA 93065
VALUES 72,505.00
ACCOUNT NO.200029 6/1/06
Saxon Mortgage Svc Mortgage
4708 Mercantile Drive N Home 43,331.00
Fort Worth, TX 76137
VALUES 72,505.00
ACCOUNT NO.9725599 3/1105
Regional Acceptance Auto Loan
110 W. Randill Mill Rd. St. 2005 Chevy 2,529.94
Arlington, TX 76011 Cobait
VALUE $__2.500,00
1__continuation sheets Subiotal > $ $
“attached (Total of this page) 185,652.00
Total > $ $
(Use only on last page)

 

 

 

 

(Report also on Summary of — (If applicable, report

Schedules.) also on Statistical
Summary of Certain
Liabilities and Related
Data.)
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 14 of 54

B 6D (Official Form 6D) (12/07) — Cont.

In re Deborah Ann Byrd
Debtor

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet}

; Case No,

 

(if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S NAME AND Ef os DATE CLAIM WAS eS AMOUNT OF CLAIM | UNSECURED
MAILING ADDRESS & = INCURRED, NATURE z mw] fy WITHOUT PORTION, IF
INCLUDING ZIP CODE B 2 zZ OF LIEN, AND o a = | DEDUCTING VALUE ANY
AND AN ACCOUNT a e F DESCRIPTION AND 5| = | OF COLLATERAL
NUMBER 8 a5 g VALUE OF PROPERTY ol] #4
(See Instructions Above.) o g 30 SUBJECT TO LIEN S z a
ACCOUNT NO. 60191935
9/1/06
GEMB/Rooms to Go Fumiture Account
950 Forrer Blvd. Fumiture 4,573.00
Kettering, OH
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE §
ACCOUNT NO,
VALUE $
Sheet no___1__of__1 continuation Subtotal (s)> $ $
sheets attached to Schedule of (Total{s) of this page) 4573.00
Creditors Holding Secured ars.
Claims
Total(s) > $ $
(Use only on last page) 190,225.00
(Report also on (ff applicable,
Summary of Schedules.) report also on
Statistical Summary
of Certain
Liabilities and

 

Related Data.)

 
 

 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 15 of 54

B6E (Official Form 6E) (04/10)

In re Deborah Ann Byrd . Case No.
Debtor (if known)

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided ifthe
debter chooses to do so. If aminor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
*A B., aminor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(n).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. [f.ajoint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C” in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled “Contingent.” Ifthe claim is unliquidated, place an "K" in the
column labeled “Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an “X" in more
than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on cach sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the tetal of amounts not entitled to pricrity listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all

amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
[_] Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
Tose § SOx 0. such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in

[_] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

oO Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person cared within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 307(a)(4).

Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507{aX5).

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
 

 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 16 of 54

5 6E (Official Form 6E) (04/10)— Cont.

In re_Deborah Ann Byrd ; Case No.
Debtor (if known)

 

Cl Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § S07(a\6).

CI Deposits by individuals

Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a\(7).
CO Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(aX8).

O Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).
O Claims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a\(10).

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases Commenced on or after the date of
adjustment.

continuation sheeis attached

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 17 of 54

B 6F (Official Form 6F) (12/07)

Inre Deborah Ann Byrd 5 Case No.

Debtor dif known)

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, ofall entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name, See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If'a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

Ifthe claim is contingent, place an ‘“X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

()_ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S
CREDITOR’S NAME, 5 we fo DATE CLAIM WAS _|a AMOUNT OF
MAILING ADDRESS x | Pog INCURRED AND z | CLAIM
INCLUDING ZIP CODE, & | Ou CONSIDERATION FOR a a a
AND ACCOUNT NUMBER | % | 2 z CLAIM. Z/B15
(See instructions above.) 6 | 2>S | wc.amissupectto | 6 | & | &
OoO}¢ SETOFF, SO STATE, 5 z 5
ACCOUNT NO. 2696 1/410
Enhanced Recovery Co L 630.00
8014 Bayberry Rd
Jacksonville, FL 32256
ACCOUNT NO. 588 9/1/10
Hollis Cobb 677.00
6621 Bay Cir., Suite 180
Norcross, GA 30071
ACCOUNT NO. 3045437 3hM0
| C System Inc. 262.00
PO Box 64378
Saint Paul, MN 55164
ACCOUNT NO. 121000000007 10/1/06
ISPC 2,506.00
1115 Gunn Hwy
Odessa, FL 33556
Subtotal» | $ 4,075.00
lo continuation sheets attached Totaly | ¢
{Use only on last page of the completed Schedule F.)
{Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

 

 
 

 

 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 18 of 54

B 6F (Official Form 6F) (12/07) - Cont.

Inre Deborah Ann Byrd > Case No.
Debtor (if known)

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

AMOUNT OF
CLAIM

DATE CLAIM WAS
INCURRED AND
CONSIDERATION FOR
CLAIM.

IF CLAIM IS SUBJECT TO
SETOFF, SO STATE.

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,

AND ACCOUNT NUMBER
See instructions above.)

CODEBTOR
HUSBAND, WIFE,
JOINT, OR
COMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED

 

ACCOUNT NO. 1923 4/1/10

 

National Recovery Agency 404.00
2491 Paxton St.
Harrisburg, PA 17111

 

ACCOUNT NO. 702096000233 9/1/10

 

Online Collections 133.00
202 W Fire Tower Rd
Winterville, NC 28590

 

ACCOUNT NO. 10234325 4/1/41

 

Pentagroup Financial LLC 1,074.00
5959 Corporate Dr, Ste 14
Houston, TX 77036

ACCOUNT NO. 5480420027710 7/1/10

 

 

Portfolio Recvry & AFFIL 806.00
120 Corporate Blvd, Ste 1
Norfolk, VA 23502

 

ACCOUNT NO. 66 9/07

 

RMB 50.00
409 Bearden Park Cir.
Knoxville, TN 37819

 

 

 

 

 

 

 

 

Sheet na. i of Y continuation sheets attached Subtotal» | $
to Schedule of Creditors Hoiding Unsecured 2,167.00
Nonpriority Claims

 

Towl> | $

(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Date.)

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 19 of 54

B 6F (Official Form 6F) (12/07) - Cont.

Inre Deborah Ann Byrd
Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

> Case No.

 

{if known)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,

AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR

HUSBAND, WIFE,
JOINT, OR
COMMUNITY

DATE CLAIM WAS
INCURRED AND
CONSIDERATION FOR
CLAIM.

IF CLAIM IS SUBJECT TO
SETOFF, SO STATE,

CONTINGENT

UNLIQUIDATED
DISPUTED

AMOUNT OF
CLAIM

 

ACCOUNT NO. 141

 

Security Credit Svc
2653 W Oxford Loop
Oxford, MS 38655

10/1/10

795.00

 

ACCOUNT NO. 6476

 

United Consumer Financial
865 Bassett Rd
Westlake, OH 44145

1/1/09

859.00

 

ACCOUNT NO. 202861355602

 

AFNI, Inc
PO Bax 3427
Bloomington, IL 61702

4/1/08

205.00

 

ACCOUNT NO. 040430160

 

CBE Group
1309 Technology Pkwy
Cedar Falls, IA 50613

42/1/10

530.00

 

ACCOUNT NO. 10628716104

 

CAC Financial Corp
2601 NW Expwy, Ste 1000 E
Oklahoma City, OK 73142

 

 

 

 

8/1/08

 

 

 

795.00

 

Sheet no. 2. of Lp continuation sheets attached
to Schedule of Creditors Holding Unsecured
Nonpriority Claims

 

Subtotal

Total>

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

3,184.00

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 20 of 54

B 6F (Official Form 6F) (12/07) - Cont.

In re Deborah Ann Byrd
Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

{Continuation Sheet)

5 Case No.

 

(if known)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,

AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR

HUSBAND, WIFE,
JOINT, OR
COMMUNITY

DATE CLAIM WAS
INCURRED AND
CONSIDERATION FOR
CLAIM.

IF CLAIM IS SUBJECT TO
SETOFF, SO STATE.

CONTINGENT

UNLIQUIDATED
DISPUTED

AMOUNT OF
CLAIM

 

ACCOUNT NO. 5491237307238

 

USAA Federal Savings Bank
PO Box 47504
San Antonio, TX 78265

7/1/06

1,210.00

 

ACCOUNT NO. 512737300145

 

Web Bank
6440 S Wasatch, Ste 300
Salt Lake City, UT 84121

3/1/06

1,119.00

 

ACCOUNT NO. 5779108

 

Alpha Collections Ag
121 Washington St
Gainesville, GA 30501

11/1/10

1,019.00

 

ACCOUNT NO. 462300

 

Classic Dental
4267 W. Lake Mary Blvd.
Lake Mary, FL 32746

1/12/10

782.00

 

ACCOUNT NO. 19710212

 

 

NCC
245 Main St
Dickson City, PA 18519

 

 

 

 

 

 

698.00

 

Sheet no. 3S of le continuation sheets attached
to Schedule of Creditors Holding Unsecured
Nonpriority Claims

 

Subtotal»

Total>

{Use only on last page of the completed Schedule F.)
{Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

4,828.00

 

 

 

 
 

 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 21 of 54

B 6F (Official Form 6F) (12/07) - Cont.

In re Deborah Ann Byrd
Debtor

: Case No.

 

(if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,

AND ACCOUNT NUMBER
(ee instructions above.)

CODEBTOR

HUSBAND, WIFE,
JOINT, OR
COMMUNITY

DATE CLAIM WAS
INCURRED AND
CONSIDERATION FOR
CLAIM.

IF CLAIM IS SUBJECT TO
SETOFF, SO STATE.

AMOUNT OF
CLAIM

CONTINGENT
UNLIQUIDATED
DISPUTED

 

ACCOUNT NO. 53580515

 

Allied Interstate
PO Box 361505
Columbus, OH 43236

1/15/08

$29.00

 

ACCOUNT NO. 512737300145

 

Bankcard Services
PO Box 4477
Beaverton, OR 97076

2/16/10

722.00

 

ACCOUNT NO. 5480420027710

 

Union Plus Credit Card
PO Box 80027
Salinas, CA 93912

2/9/10

806.00

 

ACCOUNT NO. 30851

 

Same Day Surgicenter
88 West Kaley St.
Orlando, FL 32806

12/11/09

392.00

 

ACCOUNT NO. 086051201

 

Brighthouse Networks
1195 S. Woodland Bivd.
Deland, FL 32720

 

 

 

 

5/3/08

 

327.00

 

 

 

Sheet no. \ of. lg continuation sheets attached

to Schedule of Creditors Holding Unsecured

Nonpriority Claims

(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

Subtotal | $
3,076.00

 

Totaly | $

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 22 of 54

B 6F (Official Form §F) (12/07) - Cont.

In re Deborah Ann Byrd
Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

: Case No.

 

(if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Continuation Sheet}
i
CREDITOR’S NAME, we E me DATE CLAIM WAS b |e AMOUNT OF
MAILING ADDRESS c ~OZ INCURRED AND & |218 CLAIM
INCLUDING ZIP CODE, me o C = CONSIDERATION FOR Sila [5
AND ACCOUNT NUMBER | @ | S&S CLAIM. EI5 |%
(See instructions above.) 3 | #=S | IFCLAIMIS SUBJECT TO Z1I9|/6
= SETOFF, SO STATE. o Z
Sound and Spirit 115.00
PO Box 1958
Indianapolis, IN 46291
ACCOUNT NO. 419395 4/27/41
Jacob Law Group 854.00
2623 West Oxford Loop
Oxford, MS 38655
ACCOUNT NO. 5345020689 4/30/05
Matrix Acceptance 374.00
PO Box 224
Roy, UT 84067
ACCOUNT NO. ABY717 5/12/10
Frost-Arnett Company 677.00
PO Box 198988
Nashville, TN 37219
ACCOUNT NO. 738425142 3/1/11
T-Mobile 848.00
PO Box 742596
Cincinnati, OH 45274
Sheet no. 5 of ly continuation sheets attached Subtotal» | $
to Schedule of Creditors Holding Unsecured 2,868.00
Nonpriority Claims
Total» [| $
{Use only on last page of the campleted Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 23 of 54

B 6F (Official Form 6F) (12/07) - Cont.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Inre Deborah Ann Byrd , Case No.
Debtor (if known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
La
CREDITOR’S NAME, we 5 we DATE CLAIM WAS we Ia AMOUNT OF
MAILING ADDRESS Oo} 7.5 zZ INCURRED AND ae /H Ia CLAIM
INCLUDING ZIP CODE, me | oe = CONSIDERATION FOR $ S15
AND ACCOUNT NUMBER | & | SES CLAIM. FE iS |é
(See instructions above.) So | #>9 | IFCLAIMIS SUBJECT TO zZ/191/6
= SETOFF, SO STATE. 5 z
ACCOUNT NO. 38600 3/24/10
Cen FL Cardiovascular Cons 344.00
759 Harley Strickland Blvd.
Orange City, FL 32763
ACCOUNT NO. 40205044019 4/4/08
MAF Collection Services 266.00
PO Box 2842
Tampa, FL 33604
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO,
Sheet no. ly of ly continuation sheets attached Subtotal» | $
to Schedule of Creditors Holding Unsecured 610.00
Nonprioriry Claims
Totalb>
(Use only on last page of the completed Schedule F.) 20,808.00
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

 

 
 

 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 24 of 54

B 6G (Official Form 6G) (12/07)

Inre Deborah Ann Byrd
Debtor

Case No.

 

(if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and ail unexpired leases of real or personal property. Include any timeshare
interests. State nature of debtor’s interest in contract, i.¢., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of alease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and

Fed. R. Bankr. P. 1007(m).

a Check this box if debtor has no executory contracts or unexpired leases.

 

NAME AND MAILING ADDRESS,
INCLUDING ZIP CODE,
OF OTHER PARTIES TO LEASE OR CONTRACT.

DESCRIPTION OF CONTRACT OR LEASE AND
NATURE OF DEBTOR’S INTEREST. STATE
WHETHER LEASE IS FOR NONRESIDENTIAL
REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

 

Sanford Court Apartments
3291 South Sanford Avenue
Sanford, FL 32773

Residential Lease
Tenant

 

 

 

 

 

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 25 of 54
B 6H (Official Form 6H) (12/07)

In re_Deborah Ann Byrd : Case No.
Debtor (if known)

 

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. [f the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonweaith, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. [fa minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

[v] Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 26 of 54

B6I (Official Form 61) (12/07)

Inre Deborah Ann Byrd > Case No.
Debtor (if known)

 

 

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 

Debtor’s Marital DEPENDENTS OF DEBTOR AND SPOUSE

 

Status:
Single RELATIONSHIP(S): n/a AGE(S): n/a

 

 

Employment: DEBTOR SPOUSE

 

Occupation

 

Name of Employer Seminole County Schools

 

How tone emproved
Address of Employer

400 E. Lake Mary Blvd.
_ Sanford, FL 32773

 

 

 

 

INCOME: (Estimate of average or projected monthly income at time DEBTOR SPOUSE
case filed)
$ 2,963.14 3
1. Monthly gross wages, salary, and commissions
(Prorate if net paid monthly) $ $
2. Estimate monthly overtime

 

3. SUBTOTAL

 

$ 2,963.14 $

 

 

 

4. LESS PAYROLL DEDUCTIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. Payroll taxes and social security $___—« 364.92 $
c. Union dues ; $____—30.00 5
d. Other (Specify); _Annuity/Stocks $______—-320.00 §
§. SUBTOTAL OF PAYROLL DEDUCTIONS § 854.92 $
6. TOFAL NET MONTHLY TAKE HOME PAY $ 2,108.22 5
7. Regular income from operation of business or profession or farm $ $
(Attach detailed statement} $ §
8. Income from real property
9. Interest and dividends § $
10. Alimony, maintenance or support payments payable to the debtor for $ $
the debtor’s use or that of dependents listed above
11. Social security or government assistance
(Specify): § $
12. Pension or retirement income
13. Other monthly income $e 5
(Specify Army Reserves/VA § 638.40 $
14. SUBTOTAL OF LINES 7 THROUGH 13 $ 638.40 $
15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14) | § 2,746.62  §
16. COMBINED AVERAGE MONTHLY INCOME: (Combine calumn $___ 2,746.62
totals from line 15) (Report also on Summary of Schedules and, if applicable,

on Statistical Summary of Certain Liabilities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

 
 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 27 of 54

B6J (Official Form 63) (12/07)

In re Deborah Ann Byrd ; Case No.
Debtor (if known)

 

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average ar prajected monthly expenses of the deblor and the debtor’s family at time case filed. Prorate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this farm may differ from the deductions from income
allowed on Form22A or 22C.

[] Check this box ifa joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures labeled “Spause.”

 

 

 

 

 

 

 

 

 

 

1. Rent or home mortgage payment (include lot rented for mobile home) $ 565.00
a. Are Teal estate taxes included? Yes No
b. Is property insurance included? Yes No
2. Utilities: a. Electricity and heating fuel $ 100.00
b. Water and sewer 5 50.00
c. Telephone $ 84.00
d. Other $
3. Home maintenance (repairs and upkeep) $
5. Clothing $ 75.00
6. Laundry and dry cleaning $
7, Medical and dental expenses $
8. Transportation (not including car payments) $ 176,66
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $
10.Charitable contributions $ 50.00
11 Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner’s or renter’s $
b. Life $
c. Health g 144.00
d, Auto g___ 109.00
e. Other $
12. Taxes (not deducted fram wages or included in home mortgage payments)
(Specify) $
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto $ 345.00
b. Other $
c. Other $
14. Alimony, maintenance, and support paid to others $
15, Payments for support of additional dependents not living at your home $
16. Regular expenses from operation of business, profession, or farm (attach detailed statement) $
17. Other $
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, $ 2,023.66
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I $ 2,746.62
b. Average monthly expenses from Line 18 above $ 2,023.66

c. Monthly net income (a. minus 6.) $ 722.96
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 28 of 54

 

 

B 7 (Official Form 7) (04/10)
UNITED STATES BANKRUPTCY COURT
Middle District of Florida
Inre: Deborah Ann Byrd , Case No.
Debtor (if known)

STATEMENT OF FINANCIAL AFFAIRS

This statement is te be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by Join Doe, guardian." Do not disclose the child's name, See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by ali debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. Lf the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.

DEFINITIONS

"In business." A debtor is “in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

“Insider. The term "insider" includes but is not limited 10: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
3 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 1f U.S.C. § 101.

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of

| the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
the basis of'a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

 
None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 29 of 54

2. Income other than from employment or operation of business

State the amount of income received by the debtor other than from employment, trade, profession, operation of the
debtor's business during the two years immediately preceding the commencement of this case. Give particulars. Lf a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT , SOURCE

 

None

3. Payments to creditors
Complete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling,
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS PAID STILL OWING

4. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
within $0 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $5,850". If the debtor is an individual, indicate with an asterisk
(*} any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR. DATES OF AMOUNT AMOUNT
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

 

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or

after the date of adjustment.
None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 30 of 54

c. All debtors: List all payments made within one year immediately preceding the commencement of this case
to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must

include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

 

None

Nore

4, Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include

information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION

b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
year immediately preceding the commencement of this case. (Married debtors filing under chapter L2 or chapter 13

must include information concerning property of either or both spouses whether or nct a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS
OF PERSON FOR WHOSE DATE OF
BENEFIT PROPERTY WAS SEIZED SEIZURE

DESCRIPTION
AND VALUE
OF PROPERTY

 

None

3. Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.}

DATE OF REPOSSESSION, DESCRIPTION
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE
OF CREDITOR OR SELLER TRANSFER OR RETURN OF PROPERTY

 

 
None

None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 31 of 54

6. Assignments and receiverships

a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

TERMS OF
NAME AND ADDRESS DATE OF ASSIGNMENT
OF ASSIGNEE ASSIGNMENT OR SETTLEMENT

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is fited, unless the
spouses are separated and a joint petition is not filed.)

NAME AND LOCATION DESCRIPTION
NAME AND ADDRESS OF COURT DATE OF AND VALUE
OF CUSTODIAN CASE TITLE & NUMBER ORDER Of PROPERTY

 

None

7. Gifts

List all gifts or charitable contributions made within ene year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions agpregating less than $100 per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS RELATIONSHIP DESCRIPTION
OF PERSON TO DEBTOR, DATE AND VALUE
OR ORGANIZATION IF ANY OF GIFT OF GIFT

 

Nane

8. Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.}

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE
PROPERTY BY INSURANCE, GIVE PARTICULARS OF LOSS

 

 
None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 32 of 54

9. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS NAME OF PAYER JF DESCRIPTION AND
OF PAYEE OTHER THAN DEBTOR VALUE OF PROPERTY

 

None

None

10. Other transfers

a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY
RELATIONSHIP TO DEBTOR TRANSFERRED AND
DATE VALUE RECEIVED

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S} AND VALUE OF PROPERTY OR DEBTOR’S
INTEREST IN PROPERTY

 

11. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
NAME AND ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

 

 
None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 33 of 54

12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS iF ANY

 

None

13, Setofis

List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

DATE OF AMOUNT
NAME AND ADDRESS OF CREDITOR SETOFF OF SETOFF

 

None

14, Property held for another person

List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND
OF OWNER VALUE OF PROPERTY LOCATION OF PROPERTY

 

None

15. Prior address of debter

If debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case, If a joint petition is
filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

850 Charles Avenue Deborah Ann Byrd 2006-2009
Orange City, FL 32763

 
None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 34 of 54

16. Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the community property state.

NAME

 

None

None

None

17, Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamimation,
releases of hazardous or toxic substances, wastes or material into the air, Land, soil, surface water, groundwater, or
other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

a. List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

 

None

18. Nature, location and name of business

a. if the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 35 of 54

executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
the commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities, within six years immediately preceding the commencement of this case.

if the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities within six years immediately preceding the commencement of this case.

LAST FOUR DIGITS
OF SOCIAL-SECURITY BEGINNING AND
NAME OR OTHER INDIVIDUAL ADDRESS NATURE OF BUSINESS ENDING DATES
TAXPAYER-LD. NO.
(ITIN)/ COMPLETE EIN

b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
defined in 11 U.S.C. § 101.

NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual

debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in

business, as defined above, within six years immediately preceding the commencement of this case. A debtor wha has not been
in business within those six years should go directly to the signature page.)

 

None

None

19, Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
case have audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED
' Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 36 of 54

None c. List all firms or individuals who at the time of the commencement of this case were in possession of the

O books of account and records of the debtor. If any of the books of account and records are not available, explain.
NAME ADDRESS

None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a

CI financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS DATE ISSUED

 

20. Inventories

None a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of cach inventory, and the dollar amount and basis of each inventory.

DOLLAR AMOUNT
OF INVENTORY

DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other
basis)

a b. List the name and address of the person having possession of the records of each of the inventories reported
in a., above.

 

NAME AND ADDRESSES
OF CUSTODIAN
DATE OF INVENTORY OF INVENTORY RECORDS
Zi. Current Partners, Officers, Directors and Shareholders
None a. Ifthe debtor is a partnership, list the nature and percentage of partnership interest of each member of the
OG partnership.
NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST
None b.  [f the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
oO directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
corporation.
NATURE AND PERCENTAGE

NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

 

 
None

None

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 37 of 54

10

22. Former partners, officers, directors and sharchalders

a. Ifthe debtor is a partnership, list each member who withdrew from the partnership within ome year immediately
preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

b. Ifthe debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

 

None

23. Withdrawals from a partnership or distributions by a corporation

If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION
RELATIONSHIP TO DEBTOR OF WITHDRAWAL AND VALUE OF PROPERTY

 

None

24, Tax Consolidation Group.

If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within six years

immediately preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER-IDENTIFICATION NUMBER (EIN)

 

None

25. Pension Funds.

If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER-IDENTIFICATION NUMBER (EIN)

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 38 of 54

1
fif completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
and any attachments thereto and that they are true and correct.

Signature MK
Dae OKOS)/ of Debtor eps Ls , o

Signature of
Joint Debtor
Date {if any)

 

 

 

 

[if completed on behaif of a partnership or corporation}

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct to the best of my knowledge, information and belief.

Date Signature

 

Print Name and
Title

 

[An individual signing on behalf of a partnership ot corporation must indicate position or relationship to debtor.

___ continuation sheets attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up ia 5 years, or both. 18 U.S.C. $8 152 and 3571

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

T declare under penalty of perjury that: (1) | am a bankruptcy petition preparer as defined in 1] U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the aotices and information required under 11 U.S.C. §§ 110(b), 110(h), and
342(b), and, (3) if rales or guidelines have been promulgated pursuant to 11 U.S.C. § 1 LO(h) setting a maximum fe for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section.

Janelle Woods 592448989
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social-Security No, (Required by 11 ULS.C. § 110.)

ifthe bankruptcy petition preparer is not an individual, siate the name, title (if any), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document.

237 Highland Drive
Deltona, FL 32738

 

  

del y
Datel *

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

 

e of Bankruptcy Petition Preparer

If mare than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or beth. 18 U.S.C. § 156.

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 39 of 54

B 8 (Official Form 8) (12/08)

UNITED STATES BANKRUPTCY COURT

Middle District of Florida

In re Deborah Ann Byrd ; Case No.
Debtor Chapter 7

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A — Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 

 

 

 

 

Property No. 1
Creditor's Name: Describe Property Securing Debt:
BAC Home Loans Svc Reai Property, 850 Charles Avenue, Orange City, FL
Property will be (check one):
#4 Surrendered © Retained

If retaining the property, I intend to (check at least one):

OC) Redeem the property

O} Reaffirnm the debt

O Other. Explain (for example, avoid lien
using |] U.S.C. § 522(f)).

Property is (check one):
C1] Claimed as exempt 4 Not claimed as exempt

 

 

Property No. 2 @faecessary)

 

Creditor's Name: Describe Property Securing Debt:
Saxon Mortgage Svc. Real Property, 850 Charles Avenue, Orange City, FL

 

 

Property will be (check one):
® Surrendered O Retained

If retaining the property, | intend to (check at least one}:

C1) Redeem the property

© Reaffirm the debt

O Other. Explain (for example, avoid tien
using 11 U.S.C. § 522(f)).

 

Property is (check one):
0 Claimed as exempt ® Not claimed as exempt

 

 

 

 
 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 40 of 54

B 8 (Official Form 8) (12/08)

UNITED STATES BANKRUPTCY COURT
Middle District of Florida

In re Deborah Ann Byrd ; Case No.
Debtor Chapter 7

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

 

PART A — Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 

 

 

 

Property No. |
Creditor's Name: Describe Property Securing Debt:
Regional Acceptance 2005 Chevy Cobalt
Property will be (check one):
© Surrendered @W Retained

If retaining the property, I intend to (check at least one):

CO Redeem the property

#1 Reaffirm the debt

© Other. Explain (for example, avoid lien
using 11 U.S.C. § 522(f)).

Property is (check one):
®% Claimed as exempt [ Not claimed as exempt

 

 

Property No. 2 (necessary)

 

Creditor's Name: Describe Property Securing Debt:
GEMB/Rooms to Go Furniture

 

 

Property will be (check one):
i Surrendered OF Retained

Ifretaining the property, I intend to (check at least one):

C1 Redeem the property

 Reaffirm the debt

O Other. Explain (for example, avoid lien
using 11 U.S.C. § 522(f).

Property is (check one):
C] Claimed as exempt ® Not claimed as exempt

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 41 of 54

B 8 (Official Form 8) (12/08)

Page 2

PART B — Personal property subject to unexpired leases. (Ai! three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Property No. 1

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 US.C. § 365(p)(2):
0 YES O NO

Property No. 2 (ifnecessary)

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 U.S.C. § 365(p)(2):
O YES 1} NO

Property No. 3 (ifnecessary)

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant

to 11 U.S.C. § 365(p)\(2):
O YES 11 NO

 

 

continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

\ Lhrrad onniayecl)

Date: OY OTH

YAK of Debtor

 

Signature of Joint Debtor

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 42 of 54

B 224 (Official Form 22A) (Chapter 7) (12/10)

 

In re _Deborah Ann Byrd According to the information required to be entered on this statement

Case Number:

Debtor(s) {check one box as directed in Part I, Ii], or VI of this statement):

Ele presumption arises,
¥ |The presumption does not arise.

(if known) (_)The presumption is temporarily inapplicable.

 

 

 

CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
AND MEANS-TEST CALCULATION

In addition to Schedules | and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
in Part { applies, joint debtors may complete one statement only. If any of the exclusions in Part | applies, joint debtors should
complete separate statements if they believe this is required by § 707(b)(2)(C).

 

Part I. MILITARY AND NON-CONSUMER DEBTORS

 

1A

Disabied Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

(J Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran
(as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty
(as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C.

§901(1)).

 

1B

Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
verification in Part VIII. Do not complete any of the remaining parts of this statement.

[_] Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

 

1c

 

 

Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.

§ 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
(as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”), If you qualify for
this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
top of this statement, and (3) complete the verification in Part VII. During your exclusion period you are not required
to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
ease before your exclusion period ends.

(_] Dectaratioa of Reservists and National Guard Members. By checking this box and making the appropriate entries
below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
component of the Armed Forces or the National Guard

a. [_] I was called to active duty after September 11, 2001, for a period of at least 90 days and
[_] I remain on active duty /or/
(7 1 was released from active duty on
this bankruptcy case was filed;

OR

b. (] 1 am performing homeland defense activity for a period of at least 90 days /or/
(]I performed homeland defense activity for a period of at least 90 days, terminating on
which is less than 540 days before this bankruptcy case was filed.

which is less than 540 days before

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 43 of 54

B 22A (Official Form 22A) (Chapter 7} (12/10)

 

Part I, CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

 

Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

a. bf] Unmarried, Complete only Column A (“Debtor’s Income”) for Lines 3-11.

b. (] Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and [
are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A} of the Bankruptcy Code.”

Complete only Column A (“Debtor’s Income”) for Lines 3-11.

c. [_] Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both

Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

d. [_] Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse's Income”) for

Lines 3-11.

 

All figures must reflect average monthly income received from all sources, derived during
the six calendar months prior to filing the bankruptcy case, ending on the last day of the
month before the filing. If the amount of monthly income varied during the six months, you
must divide the six-month total by six, and enter the result on the appropriate line.

Column A

Debtor's
Income

Column B
Spouse’s
Income

 

Gross wages, salary, tips, bonuses, overtime, commissions,

¢ 3,996.94

 

Income from the operation of a business, profession or farm. Subtract Line b from Line a
and enter the difference in the appropriate column(s) of Line 4, [f you operate more than one
business, profession or farm, enter aggregate numbers and provide details on an attachment.
Do not enter a number less than zero. Do not include any part of the business expenses
entered on Line b as a deduction in Part V.

 

a. Gross receipts $

 

b. Ordinary and necessary business expenses $

 

c. Business income Subtract Line b from Line a

 

 

 

 

 

Rent and other real property income. Subtract Line b from Line a and enter the difference
in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
any part of the operating expenses entered on Line b as a deduction in Part V.

 

Gross receipts $

 

b. Ordinary and necessary operating expenses 3
Subtract Line b from Line a

 

c. Rent and other real property income

 

 

 

 

 

Interest, dividends and royalties.

 

Pension and retirement income.

 

Any amounts paid by another person or entity, on a regular basis, for the household
expenses of the debtor or the debtor’s dependents, including child support paid for that
purpose, Do not include alimony or separate maintenance payments or amounts paid by
your spouse if Column B is completed. Each regular payment should be reported in only one
column; if'a payment is listed in Column A, do not report that payment in Column B.

 

 

 

Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
However, if you contend that unemployment compensation received by you or your spouse
was a benefit under the Social Security Act, do not list the amount of such compensation in
Column A or B, but instead state the amount in the space below:

 

Unemployment compensation claimed to

be a benefit under the Social Security Act | Debtor $

 

 

 

 

Spouse $

 

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 44 of 54

.B22A (Official Form 22A) (Chapter 7) (12/10)

 

10

Income from all other sources. Specify source and amount. If necessary, list additional
sources on a separate page. Do not include alimony or separate maintenance payments
paid by your spouse if Column B is completed, but include all other payments of
alimony or separate maintenance. Do not include any benefits received under the Social
Security Act or payments received as a victim of a war crime, crime against humanity, or as a
victim of international or domestic terrorism.

a. $
b. $

Total and enter on Line 10 $ $

 

 

 

 

 

 

 

 

it

Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s). g 3,996.94 | ¢

 

 

 

12

Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
Line 11, Column A to Line 11, Column B, and enter the total. If Column B has net been
completed, enter the amount from Line 11, Column A. $ 3,996.94

 

Part IL. APPLICATION OF § 707(b)(7) EXCLUSION

 

13

Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
12 and enter the result. § 47,963.28

 

14

Applicable median family income. Enter the median family income for the applicable state and household
size. (This information is available by family size at or from the clerk of the
bankruptcy court.)

a. Enter debtor’s state of residence: FL ». Enter debtor’s household size: 2 $ 50,130.00

 

 

15

 

 

Application of Section 707(b)\(7). Check the applicable box and proceed as directed.

[vf The amount on Line 13 is less than or equal te the amount on Line 14. Check the box for “The presumption does
not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VIL.

([] The amount on Lime 13 is more than the amount on Line 14, Complete the remaining parts of this statement.

 

Complete Parts [V, V, VI, and VHi of this statement only if required. (See Line 15.)

 

Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

 

16

Enter the amount from Line 12. $ 3,996.94

 

17

Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
debtor’s dependents. Specify in the tines below the basis for excluding the Column B income (such as
payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
a separate page. If you did not check box at Line 2.c, enter zero.

a. $
b. $
c. $
Total and enter on Line 17. $

 

 

 

 

 

 

 

 

 

 

 

18

 

 

Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result. [

 

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 45 of 54

B 22A (Official Form 22A) (Chapter 7) (12/10)

 

Part V. CALCULATION OF DEDUCTIONS FROM INCOME

 

Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

 

194

National Standards: food, clothing and other items, Enter in Line 194 the “Total” amount from IRS
National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
information is availabie at or from the clerk of the bankruptcy court.) The applicable
number of persons is the number that would currently be allowed as exemptions on your federal income tax
retum, plus the number of any additional dependents whom you support. $

 

19B

National Standards: health care. Enter in Line al below the amount from IRS National Standards for Out-
of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
of-Pocket Health Care for persons 65 years of age or older. (This information is available at

or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
years of age or oider. (The applicable number of persons in each age category is the number in that category
that wouid currently be allowed as exemptions on your federal income tax return, plus the number of any
additional dependents whom you support.) Multiply Line al by Line b1 to obtain a total amount for persons
under 65, and enter the result in Line cl. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
and older, and enter the result in Line c2. Add Lines cl and c2 to obtain a total health care amount, and
enter the result in Line 19B.

 

Persons under 65 years of age Persons 65 years of age or older

 

al. | Allowance per person a2. | Allowance per person

 

bl. | Number of persons b2. | Number of persons

cl. | Subtotal c2. | Subtotal $

 

 

 

 

 

 

 

 

 

204A

Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
Utilities Standards; non-mortgage expenses for the applicable county and family size, (This information is
available at or from the clerk of the bankruptcy court). The applicable family size
consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
the number of any additional dependents whom you support. $

 

20B

Local Standards: housing and utilities; mertgage/rent expense. Enter, in Line a below, the amount of the
IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
information is available at or from the clerk of the bankruptcy court) (the applicable
family size consists of the number that would currently be allowed as exemptions on your federal income tax
return, plus the number of any additional dependents whom you support); enter on Line b the total of the
Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
Line a and enter the result in Line 20B. Do not enter an amount less than zero,

 

a. IRS Housing and Utilities Standards; mortgage/rental expense | §$

 

b. Average Monthly Payment for any debts secured by your home,
if any, as stated in Line 42 $

 

c. Net mortgage/rental expense Subtract Line b from Line a. $

 

 

 

 

 

21

 

 

Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
your contention in the space below:

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 46 of 54

B 22A (Official Form 22A) (Chapter 7) (12/10)

 

224

Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
regardless of whether you use public transportation.

Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
are included as a contribution to your household expenses in Line 8.

Clo (11 (12 ormore.

If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Locai Standards:
Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from [RS
Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
Statistical Area or Census Region. (These amounts are available at or from the clerk of
the bankruptcy court.)

 

2238

Local Standards: transportation; additional public transportation expense. If you pay the operating
expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
amount from IRS Local Standards: Transportation. (This amount is available at or from
the clerk of the bankruptcy court.)

 

23

Loca] Standards: transportation ownership/lease expense; Vehicle t. Check the number of vehicles for
which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
two vehicles.)

[J1 (2 or more.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at or from the clerk of the bankruptcy court); enter in Line b the total of the
Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
Line a and enter the result in Line 23. De not enter an amount less than zero.

a ERS Transportation Standards, Ownership Costs 5

 

 

b. Average Monthly Payment for any debts secured by Vehicle 1,
as stated in Line 42 $

 

c. Net ownership/lease expense for Vehicle 1 Subtract Line b from Line a.

 

 

 

 

 

24

Local Standards: transportation ownership/lease expense; Vehicle 2, Complete this Line only if you
checked the “2 or more” Box in Line 23.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at or from the clerk of the bankruptcy court); enter in Line b the total of the
Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
Line a and enter the result in Line 24. Do not enter an amount less than zero.

IRS Transportation Standards, Ownership Costs $

 

 

b. Average Monthly Payment for any debts secured by Vehicle 2,
as stated in Line 42 $

 

 

 

 

 

c. Net ownership/lease expense for Vehicle 2 Subtract Line b fram Line a.

 

25

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.

 

26

Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
payroll deductions that are required for your employment, such as retirement contributions, union dues, and
uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.

 

27

Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
term life insurance for yourseif. Do not include premiums for insurance on your dependents, for whole
life or for any other form of insurance.

 

23

 

 

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
payments. Do not include payments on past due obligations included in Line 44.

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 47 of 54

B 22A (Official Form 22A) (Chapter 7) (12/10)

 

Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
Enter the total average monthly amount that you actually expend for education that is a condition of
employment and for education that is required for a physically or mentally challenged dependent child for
whom no public education providing similar services is available. $

29

 

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
30 | childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
payments. $

 

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
on health care that is required for the health and welfare of yourself or your dependents, that is not

 

31 reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34, $
Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you

32 actually pay for telecommunication services other than your basic home telephone and cell phone service—

such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
your health and welfare or that of your dependents. Do not include any amount previously deducted.

 

 

 

33 | Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.

 

Subpart B: Additional Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 19-32

 

Heaith Insurance, Disability Insurance, and Health Savings Account Expenses, List the monthly
expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
or your dependents.

Health insurance

 

 

34 Il. Disability Insurance

 

c. Health Savings Account

 

 

 

 

 

Total and enter on Line 34 $

If you do not actually expend this total amount, state your actual total average monthly expenditures in the |) = —
space below: ee

$

 

Continued contributions to the care of household or family members. Enter the total average actual
35 monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses. $

 

Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
36 actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
court. $

 

Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
provide your case trustee with documentation of your actual expenses, and you must demonstrate that
the additional amount claimed is reasonable and necessary. $

37

 

Education expenses for dependent children less than 18. Enter the total average monthly expenses that
you actually incur, not to exceed $147_92* per child, for attendance at a private or public elementary or

38 | secondary school by your dependent children less than 18 years of age. You must provide your case trustee
with documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in the IRS Standards. $

 

 

 

 

 

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 48 of 54

B22A (Official Form 22A) (Chapter 7) (12/10)

 

39

Additional food and clothing expense. Enter the total average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and clothing {apparel and services) in the [IRS
National Standards, not to exceed 5% of those combined allowances. (This information is available at

or from the cierk of the bankruptcy court.) You must demonstrate that the additional
amount claimed is reasonable and necessary.

 

40

Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(cX1)-(2).

 

41

 

Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40

 

Subpart C: Deductions for Debt Payment

 

42

Future payments on secured claims. For cach of your debts that is secured by an interest in property that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
the total of the Average Monthly Payments on Line 42.

 

Name of Property Securing the Debt Average Does payment
Creditor Monthly include taxes
Payment or insurance?

a. $ Dyes Ono
$ Dyes Ono
c. $ Dyes O no

Total: Add
Lines a, b and c.

 

 

 

 

 

 

 

 

 

 

 

43

Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
List and total any such amounts in the following chart. If necessary, list additional entries on a separate

page.

 

Name of Property Securing the Debt 1/60th of the Cure Amount
Creditor

 

 

 

 

 

 

 

 

 

Total: Add Lines a, b and c

 

 

Payments on prepetition priority claims. Enter the total amount, divided by 60, ofall priority claims, such
as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
filing. Do not include current obligations, such as those set out in Line 28.

 

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 49 of 54

B 22A (Official Form 22A) (Chapter 7} (12/10) 8

Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
expense.

 

 

a. Projected average monthly chapter 13 plan payment. $

 

45 b. Current multiplier for your district as determined under schedules issued
by the Executive Office for United States Trustees. (This information is

 

 

 

 

 

 

available at or from the clerk of the bankruptcy
court.) x
c. Average monthly administrative expense of chapter 13 case Total: Multiply Lines
aand b $
46 | Total Deductions for Debt Payment. Enter the total of Lines 42 through 45. $

 

Subpart D: Total Deductions from Income

 

47 | Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46. $

 

Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 

48 | Enter the amount from Line 18 (Current monthly income for § 707(b)(2))
49 | Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))
50 | Monthly disposable income under § 707(b\(2). Subtract Line 49 from Line 48 and enter the result $

51 | 60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
enter the result. $

Initial presumption determination. Check the applicable box and proceed as directed.

 

 

 

 

 

_] The amount on Line 51 is less than $7,025*. Check the box for “The presumption does not arise” at the top of page |
of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

52 |] The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of
page 1 of this statement, and complete the verification in Part VII. You may also complete Part VII. Do not complete

 

the remainder of Part VI.
[_] The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines
53 through 55).
53 | Enter the amount of your total non-priority unsecured debt $

 

54 | Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. | $
Secondary presumption determination. Check the applicable box and proceed as directed.

 

 

(_] The amount on Line 51 is less than the amount on Line 54, Check the box for “The presumption does not arise” at
55 the top of page | of this statement, and complete the verification in Part VIII.

[J The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption.
arises” at the top of page | of this statement, and complete the verification in Part VII, You may also complete Part
VIL.

 

Part VII: ADDITIONAL EXPENSE CLAIMS

 

Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
and welfare of you and your family and that you contend should be an additional deduction from your current monthly
income under § 707(b)(2\(A)(ii)(1), If necessary, list additional sources on a separate page. All figures should reflect your
average monthly expense for each item. Total the expenses.

 

36 Expense Description Monthly Amount

 

 

 

6169/64

 

Total: Add Lines a, b and c $

 

 

 

 

 

 

 

 

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 50 of 54

B 22A (Official Form 22A) (Chapter 7) (12/10)

 

Part VOI: VERIFICATION

 

I declare under penalty of perjury that the information provided in this statement is true and correct. (/f this is a joint case,
both debtors must sign.)

Date: O¥OS/) Signature: kibal an Ly 6).
(Debtor)

Date: Signature:

 

 

(Joint Debtor, if ary)

 

 

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 51 of 54

B 201B (Form 2018) (12/09)

UNITED STATES BANKRUPTCY COURT

 

Middle District of Florida
In re Deborah Ann Byrd Case No.
Debtor
Chapter 7

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attormey] bankruptcy petition preparer signing the debtor’s petition, hereby certify that 1 delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

Janelle Woods 592448989
Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: 237 Highland Drive, Deltona, FL 32738 preparer is not an individual, state the Social Security

number of the officer, principal, responsible person, or
(Onno tuo 42 partner of the bankruptcy petition preparer.) (Required
x, | by 12 U.S.C. § 110.)

Signatare of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certification of the Debtor
1 (We), the debtor(s), affinn that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy

Code.
Deborah aaa) Burk x What. Lyoll O¢OSH/

 

 

Printed Name(s) of Debtor(s} Signature of Debtor “ Date
Case No. Gif known} x
Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s} Under-§ 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has

NOT been made on the Voluntary Petition, Official Form BI, Exhibit B on page 2 of Form B! contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor, The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.

 
Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 52 of 54

B19 (Official Form 19) (12/07)

United States Bankruptcy Court

 

Middle District of Florida
In re Deborah Ann Byrd > Case No.
Debtor
Chapter 7

DECLARATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) 1 am a bankruptcy petition preparer as defined
in 11 U.S.C. § 110; (2) I prepared the accompanying document(s) listed below for compensation
and have provided the debtor with a copy of the document(s) and the attached notice as required
by 11 U.S.C. §§ 110(b), 110¢h), and 342(b); and (3) ifrules or guidelines have been promulgated
pursuant to 11 U.S.C, § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, | have given the debtor notice of the maximum amount before preparing any
document for filing for a debtor or accepting any fee from the debtor, as required by that section.

 

 

 

Accompanying documents: Printed or Typed Name and Title, if any, of
Voluntary Petition Bankruptcy Petition Preparer:
Statement of Social Security Number Janelle Woods
Schedules of assets and tantttes

Sehedules- of} 7 Social-Security No. of Bankruptcy Petition
Preparer (Required by 11 U.S.C. § 110):

592448989

 

 

 

if the bankruptcy petition preparer is not an individual, state the name, title (if any), address,
and secial-security number of the officer, principal, responsible person, or partner who signs
this document.

237 Highland Drive
Deltona, FL 32738

Address i
x ¥. q f5| i]
Signa €o ankrupicy Petition Freparer ate

Names and social-security numbers of all other individuals who prepared or assisted in preparing
this document, unless the bankruptcy petition preparer is not an individual:

 

 

ifmore than one person prepared this document, attach additional signed sheets conforming to the
appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal
Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18
U.S.C, § 156.
 

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 53 of 54

B19 (Official Form 19) (12/07) - Cont. 2

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER
[Must be filed with any document(s) prepared by a bankruptcy petition preparer.]

I am a bankruptcy petition preparer. I am not an attorney and may not practice law or give
legal advice. Before preparing any document for filing as defined in § 110(a)(2) of the Bankruptcy
Cade or accepting any fees, I am required by law to provide you with this notice concerning
bankruptcy petition preparers. Under the law, § 110 of the Bankruptcy Code (11 U.S.C. § 110), Iam
forbidden to offer you any legal advice, including advice about any of the following:

. whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

* whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

* whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

° whether you will be able to retain your home, car, or other property after commencing a case
under the Bankruptcy Code;

* the tax consequences of a case brought under the Bankruptcy Code;

. the dischargeability of tax claims;

° whether you may or should promise to repay debts to a creditor or enter into a reaffirmation
agreement with a creditor to reaffirm a debt;

. how to characterize the nature of your interests in property or your debts; or

. bankruptcy procedures and rights.

[The notice may provide additional examples of legal advice that a bankruptcy petition preparer is
not authorized to give.]

In addition, under 11 U.S.C. § 110(h), the Supreme Court or the Judicial Conference of the
United States may promulgate rules or guidelines setting a maximum allowable fee chargeable by a
bankruptcy petition preparer. As required by law, I have notified you of this maximum allowable
fee, if any, before preparing any document for filing or accepting any fee from you.

C) eral. ae pyed) O¥O87/

Signature of Debtor # Date Joint Debtor (if any} Date

 

[In a joint case, both spouses must sign.}

 
 

   

Case 6:11-bk-05683-ABB Doc1 Filed 04/19/11 Page 54 of 54

  
 

B280 (Form 280) (10/05)
United States Bankruptcy Court
le District of 1 onde.
‘are Debtor Case No.
Chapter “|

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
{This form must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110¢h)(2).]
1. Under 11 U.S.C. § 110(h), I declare under penalty of perjury that ] am not an atlomey or employee of an attorney, that I prepared
or caused to be prepared one or more documents fer filing by the above-named debtor(s) in connection with this bankruptcy case,

and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be paid to me, for
services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept.......ccccscsssesceesseessees $ Z el )
Prior to the filing of this statement I have received....s...cssscsccssssssssseccesesecceosesses $ ? x >
Balance Due..........cecccsssssseessessssessssssssecessssssssssseccucsonsesssesesesesseaees $ )

 

2. [ have prepared or caused to be prepared the following documents (itemize): roumant
and provided the following services (itemize): “Pe Hh on Sthed ues Aearne rohan Ag
| |

3. The source of the compensation paid to me was:

Debtor C7 other (specify)
4. The source of compensation to be paid to me is:

Debtor O Other (specify)
5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed

by the debter(s) in this bankruptcy case.

 

 

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy case

except as listed below:

NAME SOCIAL SECURITY NUMBER
x 12-44 89849 df] i

., Signature Social Security number of bankruptcy Date
_Jéin cf | Ee Lt0aS petition preparer (If the bankruptcy
Printed name and title, if any, of Bankruptcy petition preparer is not an individual,
Petition Brep state the Social Security number of the

Address: 2 S fhontard D Vy. officer, principal, responsible person or

 

j ; partner of the bankruptcy petition preparer.)
el na. PY 32138 (Required by 11 U.S.C. § 110.)

 

A bankruptcy petition preparer's failure to comply with the provisions of title L! and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both, 11 U.S.C. § 110; IB US.C. § 156.

 
